           Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 1 of 8



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8
     JAMES DONNELLY

9                         UNITED STATES DISTRICT COURT
10
                               DISTRICT OF NEVADA

11                                               :
      JAMES DONNELLY,                            : Civil Action No.: ______
12
                                                 :
13                        Plaintiff,             :
            v.                                   :
14
                                                 :
15    RSG, LLC,                                  : COMPLAINT
                                                 :
16
                          Defendant.             :
17                                               :
18

19         For this Complaint, Plaintiff JAMES DONNELLY, by undersigned counsel,
20
     states as follows:
21
                                       JURISDICTION
22

23         1.     This action arises out of Defendant’s repeated violations of the Fair
24
     Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), and the
25
     harassment of Plaintiff by Defendant and its agents in their illegal efforts to collect
26

27   a consumer debt and jurisdiction is therefore proper in this Court pursuant to 28
28
          Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 2 of 8



1
     U.S.C. § 1331.
2
           2.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this
3

4    Court has original jurisdiction over Plaintiff’s FDCPA and state law claims. Mims
5
     v. Arrow Fin. Serv., LLC, 132 S.Ct. 740 (2012).
6
           3.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &
7

8    (c), because Plaintiff resides within the District of Nevada, a substantial portion of

9    the events or omissions giving rise to the claim occurred in this District, and
10
     Defendant regularly conducts business in this District.
11

12                                         PARTIES

13         4.     Plaintiff JAMES DONNELLY (“Plaintiff” or “Mr. Donnelly”), is an
14
     adult individual residing in Las Vegas, Nevada, and is a “consumer” as the term is
15

16
     defined by 15 U.S.C. § 1692a(3).

17         5.     Defendant RSG, LLC (“RSG”), is doing business in the State of
18
     Nevada as a business entity operating as a collection agency, and is a “debt
19

20
     collector” as the term is defined by 15 U.S.C. § 1692a(6).

21         6.     RSG at all times acted by and through one or more of its debt
22
     collectors or other agents (the “Collectors”).
23
                   ALLEGATIONS APPLICABLE TO ALL COUNTS
24

25                                         The Debt
26
           7.     Plaintiff allegedly incurred a financial obligation (the “Debt”) to
27

28
          Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 3 of 8



1    “Greg Hess” (the “Creditor” or “Mr. Hess”) for a personal debt. Indeed, Mr. Hess
2
     created fictional billing statements for unknown consumer purchases in an amount
3

4
     of $57,670.72 and then sought to collect those fraudulently fabricated charges

5    against Plaintiff for consumer purchases, which Plaintiff had simply never incurred
6
     (the “Fraudulent Charges”).
7

8
           8.     The Debt relating the Fraudulent Charges arose from services

9    provided by the Creditor which were primarily for family, personal or household
10
     purposes and which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).
11
           9.     The Debt was purchased, assigned or transferred to RSG for
12

13   collection, or RSG was employed by the Creditor to collect the Debt.
14
           10.    Defendant attempted to collect the Debt and, as such, engaged in
15
     “communications” as defined in 15 U.S.C. § 1692a(2).
16

17                       RSG Engages in Illegal Collection Tactics
18
                                            FACTS
19
           11.    On or about February 20, 2019, RSG commenced communications
20

21   with Plaintiff seeking to collect the Debt.
22
           12.    Specifically, “Todd Harris”, an RSG representative, advised Plaintiff
23
     that RSG was retained as debt collector to “proceed with some litigation” relating
24

25   to the fraudulent Debt and would be “executing the complaints requested by [the
26   Creditor] on February 21, 2019.
27

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           Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 4 of 8



1
            13.      Notably, Plaintiff did not owe the Debt and RSG’s entire effort to the
2
     collect the Fraudulent Charges was illegal as a matter of law.
3

4           14.      Further (perhaps in acknowledgement of the baseless nature of the
5
     underlying Debt), RSG never took the action it threated to take: it never
6
     commenced the threatened litigated, which it stated was imminent and would be
7

8    filed on February 21, 2019; nor could it, since such actions would be in further
9
     violation of the law.
10
            15.      As a result of the foregoing illegal collection conduct and threats, this
11

12   suit results.
13                              Plaintiff Suffered Actual Damages
14
            16.      Plaintiff has suffered and continues to suffer actual damages as a
15

16   result of RSG’s unlawful conduct.

17          17.      As a direct consequence of Defendant’s acts, practices and conduct,
18
     Plaintiff suffered and continues to suffer from anger, anxiety, emotional distress,
19

20
     frustration, rage, headaches, an upset stomach, heart palpitations, and has

21   otherwise been totally annoyed by Defendant’s intrusive and illegal collection
22
     calls. Plaintiff has also lost the use of personal and family time while enduring
23

24
     these frustrations.

25                                Respondeat Superior Liability
26
            18.      The acts and omissions of RSG, and the other debt collectors employed
27

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           Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 5 of 8



1
     as agents by RSG who communicated with Plaintiff as more further described herein,
2
     were committed within the time and space limits of their agency relationship with
3

4    their principal, Defendant RSG.
5
           19.    The acts and omissions by RSG and these other debt collectors were
6
     incidental to, or of the same general nature as, the responsibilities these agents were
7

8    authorized to perform by RSG in collecting consumer debts.

9          20.    By committing these acts and omissions against Plaintiff, RSG and
10
     these other debt collectors were motivated to benefit their principal, Defendant RSG.
11

12         21.    RSG is therefore liable to Plaintiff through the Doctrine of Respondeat

13   Superior for the intentional and negligent acts, errors, and omissions done in
14
     violation of state and federal law by its collection employees, including but not
15

16
     limited to violations of the FDCPA and Nevada tort law, in their attempts to collect

17   a debt from Plaintiff.
18
                                           COUNT I
19

20
                                   Violations of the FDCPA
                                   (15 U.S.C. § 1692 et seq.)
21

22         22.    Plaintiff incorporates by reference all of the above paragraphs of this
23
     Complaint as though fully stated herein.
24
           23.    Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant
25

26   engaged in false, deceptive or misleading behavior in connection with the
27

28
           Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 6 of 8



1    collection of a debt by threatening to take legal action, which it could not carry out.
2
     Indeed, RSG sought to collect the Fraudulent Charges, which were simply not
3

4
     owed by Plaintiff and were totally fabricated by Mr. Hess.

5           24.    Defendant’s conduct violated 15 U.S.C. § 1692e(2) in that Defendant
6
     misrepresented the amount of the Debt owed by Plaintiff and attempted to have
7

8
     Plaintiff pay more than the Debt owed to Creditor for the same reasons.

9           25.    Defendant’s conduct also violated 15 U.S.C. § 1692e(5) in that
10
     Defendant threatened to take legal action which it could not legally carry out.
11
     Defendant could not file a lawsuit which had no legal basis or factual support.
12

13   Moreover, the threat to file the frivolous suit was never carried out even through
14
     used as a bludgeon to threaten Plaintiff to submit into paying the Fraudulent
15
     Charges for a debt he did not owe.
16

17          26.    Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant
18
     employed various false representations and deceptive means to collect a debt.
19
            27.    Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant
20

21   used unfair and unconscionable means to collect a debt and attempted to humiliate
22
     and belittle Plaintiff.
23
            28.    Defendant’s conduct violated 15 U.S.C. § 1692f(1) in that Defendant
24

25   attempted to collect an amount not authorized by the agreement between Plaintiff
26   and Creditor. Indeed, as there simple never was an agreement between Plaintiff
27

28
             Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 7 of 8



1
     and Creditor for the Debt, collection of the same by RSG violated this provision as
2
     well.
3

4            29.      The foregoing acts and omissions of Defendant constitute numerous
5
     and multiple violations of the FDCPA, including every one of the above-cited
6
     provisions.
7

8            30.      Plaintiff is entitled to damages as a result of Defendant’s violations.

9            31.      Plaintiff has been required to retain the undersigned as counsel to
10
     protect his legal rights to prosecute this cause of action, and is therefore entitled to
11

12   an award or reasonable attorneys’ fees plus costs incurred.

13                                    PRAYER FOR RELIEF
14
             WHEREFORE, Plaintiff prays that judgment be entered against Defendant
15

16
     awarding Plaintiff:

17
                   1. Actual damages including, but not limited to, the emotional distress
18
                      Plaintiff has suffered (and continues to suffer) as a result of the
19

20                    intentional, reckless, and/or negligent FDCPA violations pursuant to
21
                      15 U.S.C. § 1692k(a)(1);
22
                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §
23

24                    1692k(a)(2)(A);
25
                   3. Attorney’s fees and costs pursuant to 15 U.S.C. § 1692k;
26
                   4. Actual damages including, but not limited to, the emotional distress
27

28
         Case 2:19-cv-00375-GMN-GWF Document 1 Filed 03/04/19 Page 8 of 8



1
               Plaintiff has suffered (and continues to suffer) as a result of the
2
               intentional, reckless, and/or negligent violations of NRS 598.0918 as
3

4              permitted under NRS 41.600;
5
            5. An award of attorney’s fees and costs to counsel for Plaintiff; and
6

7
            6. Such other relief as the Court deems just and proper.

8               TRIAL BY JURY DEMANDED ON ALL COUNTS
9
     Dated: March 4, 2019
10

11                                        Respectfully submitted,
12
                                          By /s/ David H. Krieger, Esq.
13

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20                                               Attorney for Plaintiff
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                                                 JAMES DONNELLY

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